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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE                       )
COMMISSION,                                   )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )       Civil Action No. 12-12324-MLW
                                              )
BIOCHEMICS, INC., JOHN J. MASIZ,              )
CRAIG MEDOFF and GREGORY S.                   )
KRONING,                                      )
                                              )
                       Defendants.            )


                              BIOCHEMICS' STATUS REPORT

       Pursuant to the the Court's April 4, 2018 Order (Doc. #419) and Paragraph 3 and 5 of the

April 3, 2018 Joint Report (Dkt. No. 418), as follows:

       As indicated in the SEC's Report this date, BioChemics has not made a payment to the

Court Registry since the January 19, 2018 payment of $100,000.00 and that the Transaction

expected to result in funds to pay the Judgment did not close. Also, as indicated in the SEC's

Report, BioChemics has kept the SEC regularly informed of its extensive and intensive efforts to

commercialize its assets and enter into suitable transactions that could result in sufficient funds

to satisfy the Judgment.

       Also as indicated in the SEC's Report, BioChemics has stated and intends "to work

cooperatively with the Commission regarding the steps necessary for the satisfaction of the

Judgment from available assets" and recognizes, as does the SEC, that the "any transaction

accomplished privately by BioChemics would likely increase the value that BioChemics could

obtain for its assets." To that end, BioChemics is presently working intensively on potential
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transactions that could accomplish that objective and spare the Goverment and the Court the

expenditure of resources necessary to marshall the assets for public auction.

       BioChemics also notes that although the SEC in its request for the appointment of a

receiver made reference to boiler plate language regarding ensuring that assets are not dissipated

or secreted, there is no basis for any insinuation or suggestion that in fact any assets have either

been dissipated or secreted. On the contrary, the efforts to date have substantially increased the

value of the assets and no effort in any form has been taken or will be taken to secret any such

assets. BioChemics remains committed to using its assets in the best interest of satisfying the

Judgment and its other obligations.

       BioChemics intends to report by Friday, June 8, 2018 concerning its efforts to enter into

transactions that will allow it to satisfy the Judgment and payments it intends to make in the near

term to the Court Registry.



 Dated: June 6, 2018

 Respectfully submitted by its counsel:


 /s/ Jan Schlichtmann
 Jan R. Schlichtmann, Esq. (BBO #445900)
 Jan R. Schlichtmann Atty At Law
 PO Box 233
 Prides Crossing, Massachusetts 01965
 Telephone: (978) 927-1037
 Email: jan@schlichtmannlaw.com
 Attorney for BioChemics




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                       CERTIFICATE OF ELECTRONIC SERVICE

       I hereby certify that, on June 6, 2018 a true and correct copy of the foregoing document
was served on counsel for the Commission by electronic service through the CM/ECF.

Dated: June 6, 2018

Respectfully submitted,

BioChemics
By its attorney

/s/ Jan Schlichtmann
Jan R. Schlichtmann, Esq. (BBO #445900)
Jan R. Schlichtmann Atty At Law
PO Box 233
Prides Crossing, Massachusetts 01965
Telephone: (978) 927-1037
Email: jan@schlichtmannlaw.com

Electronic Service:

Commission:

Kathleen Burdette Shields (BBO No. 637438)
David H. London (BBO No. 638289)
Securities and Exchange Commission
33 Arch Street, 24th Floor
Boston, Massachusetts 02110
Telephone: (617) 573-8904 (Shields direct)
Email: shieldska@sec.gov
londond@sec.gov




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